                IN THE UNITED STATES COURT OF APPEALS
                         FOR THE FIFTH CIRCUIT


                                    No. 23-50885

UNITED STATES OF AMERICA; OCA-GREATER HOUSTON, LEAGUE OF
          WOMEN VOTERS OF TEXAS; REVUP-TEXAS,

                                               Plaintiffs-Appellees
                                          v.

KEN PAXTON, ATTORNEY GENERAL, STATE OF TEXAS; JANE NELSON,
in her official capacity as Texas Secretary of State; STATE OF TEXAS; HARRIS
    COUNTY REPUBLICAN PARTY; DALLAS COUNTY REPUBLICAN
      PARTY; NATIONAL REPUBLICAN SENATORIAL COMMITTEE;
NATIONAL REPUBLICAN CONGRESSIONAL COMMITTEE, REPUBLICAN
                             NATIONAL COMMITTEE,

                                               Defendants-Appellants


        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TEXAS


MOTION TO CLARIFY THE SCOPE AND CONTENT OF THE RECORD ON
                         APPEAL


      Pursuant to Federal Rules of Appellate Procedure 10(e)(3) and 27, the

United States respectfully asks this Court to clarify that the record in this appeal of

the district court’s order is limited to the summary-judgment record that was before

the court and does not include any evidence or exhibits that were adduced at the
court’s subsequent bench trial, which dealt with different claims. In support of this

motion, the United States provides as follows:

         1. This appeal involves challenges under Section 101 of the Civil Rights

Act of 1964 (also known as the “Materiality Provision”) by the United States and a

set of private plaintiffs to portions of Texas’s Election Protection and Integrity Act

of 2021, S.B. 1, 87th Leg., 2d Spec. Sess. (2021), more “commonly referred to as

S.B. 1.” Doc. 820, at 1; see also Doc. 131, at 16-17 (United States’ amended

complaint); Doc. 200, at 45-46 (private plaintiffs’ second amended complaint). 1

         2. On August 17, 2023, the district court granted summary judgment to the

United States and the private plaintiffs on their Materiality Provision claims,

holding that two parts of SB 1 violate the Provision. Doc. 724, at 6-7. The court

later issued a memorandum opinion setting forth the reasoning for its order. See

Doc. 820. On December 1, 2023, Texas, its Secretary of State, and its Attorney

General appealed the court’s summary-judgment ruling. Doc. 823. A group of

Republican Party intervenors did so, as well. Doc. 827.

         3. Between its grant of summary judgment and memorandum opinion

explaining that decision, the district court held a five-week-long bench trial on




         1
             “Doc. __” refers to the docket number of documents filed in the district
court.

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separate challenges to SB 1 under other provisions of federal law. 2 See Docs. 772-

773, 776-777, 780, 784-785, 787, 789-791, 793-797, 799, 803, 805, 808, 812, 814.

The United States did not participate at trial because the court already had resolved

the United States’ Materiality Provision claim (Docs. 724, 820), and because other

litigation had rendered moot the United States’ sole additional challenge to SB 1

(see Doc. 131, at 16; Doc. 440; Doc. 447, at 23 n.10).

      4. On December 20, 2023, the clerk’s office for the Western District of

Texas contacted this Court and requested a “30-60 day[]” extension of time in

which to file the record on appeal, in light of the “voluminous exhibits” that had

been admitted during the bench trial and that “need[ed] to [be] add[ed]” to the

record. Motion to Extend Time to File Record on Appeal (Dec. 20, 2023). Later

that day, this Court granted an extension through February 5, 2024. Clerk Order

(Dec. 20, 2023).

      5. The United States asks the Court to clarify that the record in this appeal is

limited to the summary-judgment record that was before the district court and

therefore excludes testimony and exhibits that were introduced at the subsequent



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         These challenges arose under Sections 2 and 208 of the Voting Rights Act
(52 U.S.C. 10301, 10508); Title II of the Americans with Disabilities Act (42
U.S.C. 12131-12165); Section 504 of the Rehabilitation Act (29 U.S.C. 794); and
the First, Fourteenth, and Fifteenth Amendments to the United States Constitution.
Doc. 753, at 2 (Joint Pretrial Order).

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bench trial. Under Federal Rule of Appellate Procedure 10(e)(3), this Court may

confirm “the form and content of the record” on appeal.

       6. Here, because appellants appealed the district court’s summary-judgment

ruling on the United States’ and private plaintiffs’ Materiality Provision claims

(Docs. 724, 820), this Court’s “inquiry is limited to the summary judgment record

[that was] before the trial court.” Day v. Wells Fargo Bank Nat’l Ass’n, 768 F.3d

435, 436 (5th Cir. 2014); see also Tradewinds Env’t Restoration, Inc. v. St.

Tammany Park, LLC, 578 F.3d 255, 262 (5th Cir. 2009) (same); Martco Ltd.

P’ship v. Wellons, Inc., 588 F.3d 864, 871 (5th Cir. 2009) (same); QBE Ins. Corp.

v. Brown & Mitchell, Inc., 591 F.3d 439, 442 (5th Cir. 2009) (same). The Court

therefore should not “consider any evidence adduced at trial that was not part of

the summary judgment records.” Transco Leasing Corp. v. United States, 896

F.2d 1435, 1444 (5th Cir.), amended on reh’g in part, 905 F.2d 61 (5th Cir. 1990).

But see Republican Party Appellants’ Br. in Supp. of Defs.’ Emergency Mot. to

Stay 15 (Dec. 8, 2023) (citing the October 12 trial transcript). Indeed, such extra-

record evidence would shed no light on whether the district court properly

adjudicated the motions presented to it. See Topalian v. Ehrman, 954 F.2d 1125,

1131 (5th Cir. 1992) (“In reviewing a grant of summary judgment to determine

whether the law was applied correctly, this court only considers papers that were

before the trial court.”).

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      7. Plaintiffs-appellees consent to the United States’ motion. State

defendants-appellants and Republican Party intervenor-appellants oppose this

motion.

      WHEREFORE, the United States respectfully asks this Court to clarify that

the record in this appeal is limited to the summary-judgment record that was before

the district court and does not include any evidence or exhibits adduced at the

district court’s subsequent bench trial.

                                                 Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      On January 25, 2024, I filed this motion with the Clerk of the Court by using

the CM/ECF system. Participants in the case are registered CM/ECF users, and

service will be accomplished by the CM/ECF system.

                                            s/ Jason Lee
                                            JASON LEE
                                             Attorney
                     CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limit of Federal Rule of

Appellate Procedure 27(d)(2)(A) because it contains 845 words, excluding the

parts of the motion exempted by Federal Rule of Appellate Procedure 32(f). This

motion also complies with the typeface and type-style requirements of Federal

Rule of Appellate Procedure 32(a)(5) and (6) because it was prepared in Times

New Roman 14-point font using Microsoft Word for Microsoft 365.

                                            s/ Jason Lee
                                            JASON LEE
                                             Attorney

Date: January 25, 2024
